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                      IN THE UNITED STATES BANKRUPTCY COURT
                   MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION
 In Re:

 CHRIS E. CARHART,                                           Case No. 9:16-bk-06499-FMD

                     Debtor.
                                                     /

                    MOTION TO SELL PROPERTY OF THE ESTATE FREE
                    AND CLEAR OF PURPORTED LIENS AND INTERESTS

        A preliminary hearing in this case will be held on May 10, 2018 at 11:30 a.m. in Fort Myers
Federal Building and Federal Courthouse, Room 4-117, Courtroom E, 2110 First Street, Fort Myers,
Florida 33901 to consider and act upon the following or this matter and transact such other business that
may come before the Court: Motion to Sell Property of the Estate Free and Clear of Purported Liens
and Interests.

1.        The hearing may be continued upon announcement made in open court without further notice.
2.        Appropriate Attire – You are reminded that Local Rule 5072-1(b)(16) required that all persons
          appearing in court should dress in business attire consistent with their financial abilities. Shorts,
          sandals, shirts without collars, including tee shirts and tank tops, are not acceptable.
3.        Avoid delays at courthouse security checkpoints. You are reminded that Local Rule 5073-1
          restricts the entry of cellular telephones and, except in Orlando, computers into the courthouse
          absent a specific order of authorization issued beforehand by the presiding judge. Due to
          heightened security procedures, persons must present photo identification to enter the courthouse.


       COMES NOW the Trustee in the above-styled case, ROBERT E. TARDIF JR., files this
Motion to Sell Property of the Estate Free and Clear of Liens and Interests and moves this Court
pursuant to 11 U.S.C. §§ 105 and 363(f) and Rule 6004 for an Order authorizing the sale of
property of the estate by private sale free and clear of liens and interests and states as follows:

1.     The Debtor filed this bankruptcy case on July 29, 2016. Robert E. Tardif Jr., has been
appointed as Trustee to administer the case.

2.      Property: Trustee proposes to sell the bankruptcy estate’s interest in the following
property: 3512 White Eagle Drive, Naperville, Illinois – Lot 809 in White Eagle Club, Unit
22, Index No. 07-01-04-103-023-0000. The Estate has a 50% interest in the property, which is
jointly-owned with the Debtor’s non-filing spouse, Kexin Carhart.

3.      Purchaser: The proposed purchaser is Daniel Georgievski, his permitted assigns or
designees. To the Trustee’s knowledge the purchaser does not have any relationship to the
Debtor or any other party in interest. The purchase and sale agreement with attachments is 13
pages so the Trustee is not attaching the agreement to this motion in order to reduce mailing
costs. The Trustee will provide a complete copy of the agreement to any party in interest that
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makes a request and provides an email address to receive a copy.


4.      Price: The selling price is $750,000.00. The Trustee has not had the property appraised.
However, the Trustee and Mrs. Carhart retained a real estate agent, who has indicated that the
selling price represents the current fair market value for the property in its present condition. The
Trustee, after due diligence, believes the selling price is fair and reasonable given the time frame
the Court provided to the Trustee to sell the property.

5.       The following appear to have an interest in the properties to be sold by the Trustee:

Parties in Interest                          Nature of Interest                            Amount

Bank of America                              Mortgage Lien                   Approx. $420,000.00

Hinshaw & Culbertson                         Judgment Lien                   Approx. $333,600.00

Kexin Carhart                                Joint Owner                     50% Interest in Property

6.      Section 363(f) of the Bankruptcy Code provides, in pertinent part, that: "the trustee may sell
property . . . free and clear of any interest in such property and of an entity other than the estate,
only if – (2) such entity consents; or (3) such interest is a lien and the price at which such property is
to be sold is greater than the aggregate value of all liens on such property; or (4) such interest is in
bona fide dispute; . . . ."

7.     With regard to the above Parties in Interest, the Trustee believes that the necessary
requirements for a sale free and clear of liens and interests exist by stating the following:

         a.           Bank of America – The bank has a first priority lien against the property by
                      virtue of a recorded mortgage against the property. The Trustee anticipates that
                      the bank will receive full payment. The expected net proceeds of the sale being
                      proposed is more than the amount due to the bank so the Court can approve the
                      sale pursuant to § 363(f)(3) with regard to this interest.

         b.           Hinshaw & Culbertson – The Creditor sued the Debtor and received a final
                      judgment in the approximate amount of $333,600.00, which bears Document No.
                      R2016015659 of the public records of Will County, Illinois. The Trustee
                      anticipates that this Creditor will consent to the sale upon payment of a
                      percentage of the net proceeds attributable to the Debtor’s interest in the property.
                      The current amount expected to be received by this Creditor is $59,800.00. The
                      Creditor will execute a release of its judgment lien.

         c.           Kexin Carhart – The Claimant is the joint-owner of the property. The Trustee
                      anticipates that Mrs. Carhart will consent to the sale upon the following
                      conditions: (1) that she receive one-half of the net proceeds of sale, after payment
                      of the mortgage, real estate commission and all closing costs and prorations; (2)
                      that she receive from the Estate’s half of the net proceeds one-half of the carrying
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               costs and expenses that she has paid from the filing date of this case through the
               date of sale, the current total amount of which is approximately $90,415.39 (so
               the Estate’s reimbursement would be $45,207.70); and (3) that the Estate
               compensate her for the difference between the net proceeds that she would have
               received from a sale at $760,000 and the amount of this proposed sale at
               $750,000.00, that difference in amount being approximately $4,500.00.


8.      The sale of the property free and clear of liens of the above-named individuals and entities is
in the best interests of the Debtors’ estate, its creditors and other parties in interest.

9.   Terms: The property is being sold “AS IS, WHERE IS WITH ALL FAULTS AND
DEFECTS THEREIN” with no representations or warranties of any kind.

10.    Benefit to Estate: The Trustee believes the net sales proceeds will be approximately
$19,900.00.

11.     Closing Costs: The Trustee expects to pay the following undisputed liens, claims or costs
at the closing:

       a.      Commission – Joy Mulder, Coldwell Banker Residential Real Estate and any
               cooperating agent/broker, if any - $37,500.00.

       b.      Other reasonable and customary closing costs to the Trustee, as Seller, which may
               include the following:

              i.   Settlement/Closing/Title Charges (Approximately)                       $ 5,545.00
             ii.   Surveying (Approximately)                                              $    500.00
            iii.   Reasonable and customary closing costs not to exceed                   $    750.00
            iv.    Stamp Tax (State and County)                                           $ 1,125.00
             v.    2017/2018 Taxes and/or Prorated taxes                                  $ 25,700.00

       c.      A true and accurate copy of an estimated net sheet or closing statement is attached
               to this motion.

12.    Request to Waive Stay: At the hearing on this motion the Trustee will request that the
       Court enter an order waiving the 14-day stays set forth in Rules 6004(h) and 6006(d) of
       the Federal Rules of Bankruptcy Procedure and providing that the order granting this
       motion be immediately enforceable and that the closing under the purchase agreement
       may occur immediately.

       WHEREFORE the Trustee moves the Court for entry of an Order authorizing the sale of
the above-described property free and clear of liens and interests pursuant to Section 363(f), in
accordance with the terms stated herein.
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                                      Certificate of Service

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
Electronically to the Assistant United States Trustee and Richard Hollander and by Regular
U.S. Mail to Chris E. Carhart and Kexin Carhart, 621 Seaview Court P2, Marco Island, FL
34145, Hinshaw & Culbertson, LLP, c/o Brian Zeeck and Finance Department, 222 N. LaSalle
St., Suite 300, Chicago, IL 60601, and Bank of America, P.O. Box 31785, Tampa, FL 33631-
3785 and by Certified Mail to Bank of America, N.A., by serving Brian Moynihan, Chairman &
CEO, 100 North Tryon Street, Suite 170, Charlotte, NC 28202 and those creditors and parties in
interest on the attached matrix on April 19, 2018 that are required to be served pursuant to Local
Rule 2002-1(c).

                                                   /s/ Robert E. Tardif Jr.
                                                   Robert E. Tardif Jr., Trustee
                                                   P.O. Box 2140
                                                   Fort Myers, Florida 33902
                                                   Telephone: 239/362-2755
                                                   Facsimile: 239/362-2756
                                                   Email: rtardif@comcast.net
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                                                                                                                                                      OMB Approval No. 2502-0265



                              A.   Settlement Statement (HUD-1)


  B. Type of Loan


  1.           FHA       2.          RHS          3.        Conv. Unins.    6. File Number:                7. Loan Number:               8. Mortgage Insurance Case Number:


  4.           VA        5.          Conv. Ins.


  C. Note:    This form is furnished to give you a statement of actual settlement costs. Amounts paid to and by the settlement agent are shown. Items marked
              “(p.o.c.)” were paid outside the closing; they are shown here for informational purposes and are not included in the totals.

  D. Name & Address of Borrower:                                            E. Name & Address of Seller:                                 F. Name & Address of Lender:

   Daniel Georgievski                                                        Robert E. Tardif Jr., Trustee for Chris Carhart
                                                                             P.O. Box 2140
                                                                             Fort Myers, Florida 33902



  G. Property Location:                                                     H. Settlement Agent:                                         I. Settlement Date:

   3512 White Eagle Drive
   Naperville Illinois
                                                                            Place of Settlement:




   J. Summary of Borrower’s Transaction                                                        K. Summary of Seller’s Transaction


  100. Gross Amount Due from Borrower                                                          400. Gross Amount Due to Seller

  101. Contract sales price                                            $750,000.00             401. Contract sales price                                          $750,000.00
  102. Personal property                                                                       402. Personal property
  103. Settlement charges to borrower (line 1400)                                              403.
  104.                                                                                         404.
  105.                                                                                         405.
  Adjustment for items paid by seller in advance                                               Adjustment for items paid by seller in advance
  106. City/town taxes                     to                                                  406. City/town taxes                      to
  107. County taxes                        to                           $25,700.00             407. County taxes                         to                         $25,700.00
  108. Assessments                         to                                                  408. Assessments                          to
  109.                                                                                         409.
  110.                                                                                         410.
  111.                                                                                         411.
  112.                                                                                         412.
  120. Gross Amount Due from Borrower                                                          420. Gross Amount Due to Seller
  200. Amount Paid by or in Behalf of Borrower                                                 500. Reductions In Amount Due to seller
  201. Deposit or earnest money                                           $5,000.00            501. Excess deposit (see instructions)
  202. Principal amount of new loan(s)                                 $700,000.00             502. Settlement charges to seller (line 1400)                        $43,045.00
  203. Existing loan(s) taken subject to                                                       503. Existing loan(s) taken subject to
  204.                                                                                         504. Payoff of first mortgage loan                                 $420,157.00
  205.                                                                                         505. Payoff of second mortgage loan
  206.                                                                                         506.
  207.                                                                                         507.
  208.                                                                                         508.
  209.                                                                                         509.
   Adjustments for items unpaid by seller                                                      Adjustments for items unpaid by seller
  210. City/town taxes                     to                                                  510. City/town taxes                      to
  211. County taxes                        to                                                  511. County taxes                         to
  212. Assessments                         to                                                  512. Assessments                          to
  213.                                                                                         513. State/County Stamp Tax                                           $1,125.00
  214.                                                                                         514. Survey                                                              $500.00
  215.                                                                                         515.
  216.                                                                                         516. Payoff for Release Hinshaw                                     $59,800.00
  217.                                                                                         517. Kexin Carhart Net Proceeds/Reimbursement                      $179,444.20
  218.                                                                                         518.
  219.                                                                                         519.
  220. Total Paid by/for Borrower                                                              520. Total Reduction Amount Due Seller
  300. Cash at Settlement from/to Borrower                                                     600. Cash at Settlement to/from Seller
  301. Gross amount due from borrower (line 120)                                               601. Gross amount due to seller (line 420)
  302. Less amounts paid by/for borrower (line 220)           (	                     )         602. Less reductions in amounts due seller (line 520)        (	                  )

  303. Cash          ✘    From             To Borrower                  $19,300.00             603. Cash        ✘       To              From Seller                $20,228.80


The Public Reporting Burden for this collection of information is estimated at 35 minutes per response for collecting, reviewing, and reporting the data. This agency may not
collect this information, and you are not required to complete this form, unless it displays a currently valid OMB control number. No confidentiality is assured; this disclosure
is mandatory. This is designed to provide the parties to a RESPA covered transaction with information during the settlement process.



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                                                                                                                   of 6
113A-9                                       3N918 Sunrise Lane                                            3 N 918 Sunrise Lane
Case 9:16-bk-06499-FMD                       St. Charles, IL 60174-5081                                    St. Charles, IL 60174-5081
Middle District of Florida
Ft. Myers
Wed Apr 18 16:40:32 EDT 2018
Nathaniel Cade Jr                            Chris E Carhart                                               Carhart-Halaska International LLC
Cade Law Group, LLC                          621 Seaview Court P2                                          c/o Nathaniel Cade, Jr., Esq.
Post Office Box 170887                       Marco Island, FL 34145-2934                                   Cade Law Group, LLC
Milwaukee, WI 53217-8076                                                                                   PO Box 170887
                                                                                                           Milwaukee, WI 53217-8076

Caryl E. Delano                                       Mona Sami Garcia                                     Christoper G. Halaska
Tampa                                                 60 Alicante Ct                                       c/o Nathaniel Cade, Jr., Esq.
, FL                                                  Kissimmee, FL 34758-3927                             Cade Law Group, LLC
                                                                                                           P.O. Box 170887
                                                                                                           Milwaukee, WI 53217-8076

Halaska International, Inc.                           Halaska-Carhart International LLC                    Martin Auction Services LLC
c/o Nathaniel Cade, Jr., Esq.                         c/o Nathaniel Cade, Jr., Esq.                        9515 Texas Church Road
Cade Law Group, LLC                                   Cade Law Group, LLC                                  Clinton, IL 61727-9104
PO Box 170887                                         PO Box 170887
Milwaukee, WI 53217-8076                              Milwaukee, WI 53217-8076

Bank of America                                       Cade Law Group LLC                                   Carhart-Halaska Int’l LLC/Halaska Int&#
PO Box 31785                                          PO Box 170887                                        c/o Cade Law Group
Tampa, FL 33631-3785                                  Milwaukee, WI 53217-8076                             PO Box 596
                                                                                                           Lake Bluff, Il 60044-0596


Carhart-Halaska international, LLC                    Chris Halaska                                        Halaska International, LLC
c/o Cade Law Group, LLC                               c/o Cade Law Group, LLC                              c/o Cade Law Group, LLC
P.O. Box 596                                          P.O. Box 596                                         P.O. Box 596
Lake Bluff, IL 60044-0596                             Lake Bluff, IL 60044-0596                            Lake Bluff, IL 60044-0596


Hinshaw & Culbertson, LLP                             Internal Revenue Service                             Robert E Tardif Jr.+
222 N. LaSalle Street, Suite 300                      PO Box 7346                                          Trustee
Chicago, IL 60601-1081                                Philadelphia, PA 19101-7346                          Post Office Box 2140
                                                                                                           Fort Myers, FL 33902-2140


Richard J. Hollander +                                Robert E Tardif, Attorney for Trustee +              United States Trustee - FTM7/13 +
Miller, Hollander & Jeda                              Robert E. Tardif, Jr., P.A.                          Timberlake Annex, Suite 1200
5278 Golden Gate Pkwy., Suite 2                       Post Office Box 2140                                 501 E Polk Street
Naples, FL 34116-7644                                 Fort Myers, FL 33902-2140                            Tampa, FL 33602-3949


Melissa H Jeda +                                      Note: Entries with a ’+’ at the end of the
Miller, Hollander & Jeda                              name have an email address on file in CMECF
5278 Golden Gate Pkwy., Suite 2
Naples, FL 34116-7644




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
